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2
                                                                    The Honorable John C. Coughenour

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5
                                 UNITED STATE DISTRICT COURT
6
                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
7

8    UNITED STATES OF AMERICA,                              NO. CR-06-166-JCC

9                 Plaintiff,

10         v.                                               ORDER CONTINUING TRIAL
                                                            AND RELATED MATTERS
11
     IGOR KHARITONOV,
12
                  Defendant.
13

14         THE COURT NOW FINDS that pursuant to Title 18, United States Code, §§
15
     3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(iv), the ends of justice served by
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17
     continuing the trial date to October 30, 2006, outweigh the best interests of the public and

18   the defendants in a speedy trial, in that, as set forth in the Declaration of Mark D. Mestel in
19
     support of the Motion for Continuance of Trial Date, it has been demonstrated that
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     (1) defense counsel has only recently been appointed to represent Mr. Kharitonov, one of
21

22   the three codefendants charged in this case; (2) defense counsel needs additional time in
23
     order to examine and review discovery materials and review with his client in order to
24
     adequately prepare the defense for trial and; (3) to identify, locate and interview potential
25

26   defense witnesses; and (4) the remaining codefendants who are not in custody do not
27

28
                                                                                MARK D. MESTEL
     ORDER CONTINUING TRIAL AND RELATED MATTERS - 1                           ATTORNEY AT LAW
                                                                                 3221 Oakes Avenue
                                                                                 Everett, WA 98201
                                                                                   (425) 339-2383
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     oppose this continuance; and (5) all defendants will file a Waiver of Speedy Trial within
2
     two weeks of the date of this Order;
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4          IT IS THEREFORE ORDERED THAT trial in this matter is continued from July 17,
5
     2006 until October 30, 2006;
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           IT IS FURTHER ORDERED THAT, for the purposes of computing the time
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8    limitations imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3174, the period of delay
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     from July 17, 2006, up to and include October 30, 2006; is excludable time pursuant to 18
10
     U.S.C. § 3161 (h)(8)(A).
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12         IT IS FURTHER ORDERED THAT pretrial motions shall be noted for October 5,
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     2006, with the motions cutoff date being September 15, 2005 and that any response by the
14
     government shall be due no later no later than September 25, 2006.
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16         IT IS FURTHER ORDERED THAT all defendants shall file a Waiver of Speedy
17
     Trial within two weeks from the date that this Order is signed by the Court.
18
           Done in open court this 28th day of June, 2006.
19

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24                                                             John C. Coughenour
                                                               United States District Judge
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                                                                                     MARK D. MESTEL
     ORDER CONTINUING TRIAL AND RELATED MATTERS - 2                                ATTORNEY AT LAW
                                                                                     3221 Oakes Avenue
                                                                                     Everett, WA 98201
                                                                                       (425) 339-2383
